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    8 DONALD J. TRUMP
    9                         UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
   10
   11 STEPHANIE CLIFFORD a.k.a.                Case No. 2:18-cv-02217-SJO-FFM
        STORMY DANIELS a.k.a. PEGGY
   12                                         DEFENDANT DONALD J. TRUMP’S
        PETERSON, an individual,
                                              EVIDENTIARY OBJECTIONS TO
   13
                                              DECLARATION OF MICHAEL J.
                    Plaintiff,
   14                                         AVENATTI IN SUPPORT OF
                                              OPPOSITION TO MOTION TO
   15         v.
                                              DISMISS
   16
        DONALD J. TRUMP a.k.a. DAVID
                                               Assigned for All Purposes to the
   17   DENNISON, an individual,
                                               Hon. S. James Otero
        ESSENTIAL CONSULTANTS, LLC,
   18
        a Delaware Limited Liability
   19   Company, MICHAEL COHEN, an             Action Filed: March 6, 2018
   20
        individual, and DOES 1 through 10,
        inclusive,
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   22
               Defendants.

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             EVIDENTIARY OBJECTIONS TO DECLARATION OF MICHAEL J. AVENATTI
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    1        Defendant Donald J. Trump objects to the Declaration of Michael J. Avenatti
    2 [ECF No. 89-1] as follows:
    3                 Citation                     Objection                 Ruling
    4   1.   Exhibit B                    Relevance. Fed. R. Evid.       Sustained: ____
    5                                     401, 402, 403. Hearsay.
                                                                         Overruled: ____
                                          Fed. R. Evid. 801, 802.
    6   2.   Exhibit D                    Relevance. Fed. R. Evid.       Sustained: ____
    7                                     401, 402, 403. Hearsay.
                                                                         Overruled: ____
                                          Fed. R. Evid. 801, 802.
    8   3.   Paragraph 6:                 Relevance. Fed. R. Evid.       Sustained: ____
    9                                     401, 402, 403.
             “On March 31, 2018,                                         Overruled: ____
                                          Argumentative. Fed R. Evid.
   10        during the Local Rule 7-3
                                          701. Hearsay. Fed. R. Evid.
             meet and confer conference
   11                                     801, 802.
             regarding the Motion to
   12        Compel Arbitration, I asked
             Defendant Donald Trump’s
   13        counsel, Mr. Charles
   14        Harder, whether Mr. Trump
             was a party to the purported
   15        settlement agreement with
   16        my client, Ms. Clifford.
             Mr. Harder evaded my
   17        question and would not
   18        provide a straight answer,
             ultimately responding that
   19        ‘we haven’t done the
   20        research.’”
        4.   Exhibit H                    Relevance. Fed. R. Evid.       Sustained: ____
   21                                     401, 402, 403. Hearsay.
                                                                         Overruled: ____
   22                                     Fed. R. Evid. 801, 802.
        5.   Exhibit I                    Relevance. Fed. R. Evid.       Sustained: ____
   23                                     401, 402, 403. Hearsay.
                                                                         Overruled: ____
   24                                     Fed. R. Evid. 801, 802.
        6.   Exhibit J                    Relevance. Fed. R. Evid.       Sustained: ____
   25
                                          401, 402, 403. Hearsay.
                                                                         Overruled: ____
   26                                     Fed. R. Evid. 801, 802.
        7.   Exhibit K                    Relevance. Fed. R. Evid.       Sustained: ____
   27
                                          401, 402, 403. Hearsay.
                                                                         Overruled: ____
   28                                     Fed. R. Evid. 801, 802.
                                          -2-
             EVIDENTIARY OBJECTIONS TO DECLARATION OF MICHAEL J. AVENATTI
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    1   8.   Exhibit L                    Relevance. Fed. R. Evid.      Sustained: ____
    2
                                          401, 402, 403. Hearsay.
                                                                        Overruled: ____
                                          Fed. R. Evid. 801, 802.
    3   9.   Exhibit M                    Relevance. Fed. R. Evid.      Sustained: ____
    4                                     401, 402, 403. Hearsay.
                                                                        Overruled: ____
                                          Fed. R. Evid. 801, 802.
    5   10. Exhibit N                     Relevance. Fed. R. Evid.      Sustained: ____
    6                                     401, 402, 403. Hearsay.
                                                                        Overruled: ____
                                          Fed. R. Evid. 801, 802.
    7                                     Foundation, authentication
    8                                     Fed R. Evid. 602, 901.
        11. Exhibit O                     Relevance. Fed. R. Evid.      Sustained: ____
    9                                     401, 402, 403. Hearsay.
                                                                        Overruled: ____
   10                                     Fed. R. Evid. 801, 802.
        12. Exhibit P                     Relevance. Fed. R. Evid.      Sustained: ____
   11                                     401, 402, 403. Hearsay.
                                                                        Overruled: ____
   12                                     Fed. R. Evid. 801, 802.
                                          Foundation, authentication
   13                                     Fed R. Evid. 602, 901.
   14   13. Paragraph 16:                 Mr. Avenatti’s statement:     Sustained: ____
                                          Relevance. Fed. R. Evid.
   15       “On May 16, 2018, Mr.                                       Overruled: ____
                                          401, 402, 403.
            Trump made another
   16                                     Argumentative. Fed R. Evid.
            factual statement
                                          701.
   17       concerning his knowledge
            about the payment to
   18                                     Exhibit Q:
            Plaintiff, this time in a
                                          Relevance. Fed. R. Evid.
   19       signed disclosure made to
                                          401, 402, 403.
            the United States Office of
   20       Government Ethics entitled
   21       ‘Executive Branch
            Personnel Public Financial
   22
            Disclosure Report (OGE
   23       Form 278e).’ A true and
            correct copy of excerpts of
   24
            this report is attached
   25       hereto as Exhibit Q.”
        14. Exhibit T                     Relevance. Fed. R. Evid.      Sustained: ____
   26
                                          401, 402, 403. Hearsay.
                                                                        Overruled: ____
   27                                     Fed. R. Evid. 801, 802.
   28
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             EVIDENTIARY OBJECTIONS TO DECLARATION OF MICHAEL J. AVENATTI
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    1   15. Exhibit U                    Relevance. Fed. R. Evid.    Sustained: ____
    2
                                         401, 402, 403. Hearsay.
                                                                     Overruled: ____
                                         Fed. R. Evid. 801, 802.
    3
    4
    5 Dated: November 7, 2018           HARDER LLP

    6                                   By: /s/ Charles J. Harder
    7                                       CHARLES J. HARDER
                                           Attorneys for Defendant
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                                           DONALD J. TRUMP
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             EVIDENTIARY OBJECTIONS TO DECLARATION OF MICHAEL J. AVENATTI
